 

Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 1 of18 PagelID#: 97

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

JORDAN CARTER ** CIVIL ACTION NO: 6:16-CV-370
VERSUS * JUDGE S. MAURICE HICKS
SWIFTSHIPS, L.L.C. * MAGISTRATE JUDGE

CAROL B. WHITEHURST

 

DECLARATION OF JEFF LELEUX
UNDER 28 USC § 1746

 

Pursuant to 28 USC § 1746, I hereby declare as follows:

1. I am a person of the full age of majority, whose statements in this declaration are
based upon personal knowledge and information.

2. fam the President of Swiftships, L.L.C.

3. Swiftships is a shipbuilder which designs and constructs vessels for government and
commercial entities. The company is headquartered in Fairfax, Virgina and maintains offices and/or
facilities in Fairfax, Morgan City, Louisiana, Jeanerette, Louisiana, Egypt, and Iraq.

4, Jordan Carter was hired on or about April 22, 2013 as a Contracts Administrator at an
annual salary of $50,000.00 per year in Morgan City. She initially reported to Raymond Thompson,
Director of Contracts. Thompson was transferred from this position, and Carter then reported to
Faisal Gill, General Counsel. She worked directly under Gill until approximately November 23,
2014, when Danny Knope, Purchasing Manager, assumed oversight of contracts in addition to his
purchasing responsibilities.

5. Any position changes, promotions, demotions, or pay increases must be authorized by
me. At no point in time did I promote or demote Carter, At no point in time did I approve a position

change from Contracts Administrator to Contracts Manager. At no point in time did I authorize a pay

DECLARATION OF JEFF LELEUX PAGE - 1 -

 
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 2 of 18 PagelID#: 98

increase. At no point in time did anyone in the company request a promotion, demotion, position
change, or pay increase for Carter.

6, In 2014, there were economic developments that negatively impacted the company.
Swifiships spent approximately one year and substantial resources preparing a bid for vessel
construction work for the Kingdom of Saudi Arabia’s Border Guards Fleet, which would have been
worth in excess of $1 billion dollars in gross revenue. I and other executives traveled to London,
England in March 2014 to present the proposal to the oversight committee for the project. In
November 2014, we received notice that Swiftships was not selected for the project. Additionally, oil
prices fell drastically in 2014. In June 2014, oil prices were in excess of $110.00 per barrel, and they
began a steady decline. In November 2014, OPEC refused to curb production, and oil prices fell
further. There was a more than a 40% drop in prices from June 2014 to December 2014. This had a
substantial impact on our prospects for additional business.

7, Shehraze Shah, Chief Executive Officer, and I made a joint determination to effect a
reduction in force in the areas of general administration and production. Our goal was to reduce

overhead and expenses.

 

8, The following people were separated as part of the reduction in force:
NAME SEX POSITION HIRE DATE LAYOFF DATE
1, Juan Cantu M Fitter 07/09/2014 07/29/2014
2. Christian Guidry M Fitter 03/22/2014 07/29/2014
3. Jorge Mendoza M Fitter 03/21/2014 07/29/2014
4. McClellan Molo M Fitter 06/26/2014 07/29/2014
5, Hai Nguyen M Fitter 10/25/2004 07/29/2014
6. Earnesto Perez M Fitter 06/13/2014 07/29/2014
7. Rodney Sonnier M Fitter 05/28/2014 07/29/2014
8. William Stokes M Grinder/Heiper 05/20/2014 07/29/2014
9. Gilbert Wilson M Fitter 03/20/2014 07/29/2014
10. Darrell Wilson M Helper 06/30/2014 07/29/2014
11. Katherine Adams F Administrative Assistant 10/14/2013 01/09/2015
12. Berney Adams M Comptroller 08/26/1970 01/09/2015
13. Gus Ackman M Superintendent 09/04/1987 01/09/2015

DECLARATION OF JEFF LELEUX

PAGE -2-
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 3 of 18 PagelID#: 99

14. Louise Davis F Human Resources Assistant 04/10/1978 01/09/2015
15. Brandon Doiron M Program Manager 10/14/2009 01/09/2015
16. Marie Fryou F Administrative Asst. 07/20/2009 01/09/2015
17, Ali Kazilbash M Safety Coordinator 03/18/2003 01/09/2015
18. Raymond Thompson M Director of Programs (9/22/2009 01/09/2015
19. Jordan Carter F Contracts Administrator 04/22/2013 01/09/2015
20, Damian Mahoney M Program Manager 08/25/2008 02/07/2015
9. Neither sex, race, national origin, pregnancy, age, nor any other protected class played

any role whatsoever in the decision to lay off any of these individuals, As far as I know, none of these
individuals were pregnant. I have no recollection that Carter was pregnant during her employment or
at the time of her layoff.

10. With respect to Carter’s position, we determined that there was no need for her
position given the existing and anticipated lack of work. The contracts duties being performed by
Carter were reassigned to Knope, who continued to handle his purchasing/procurement duties as well.
Pregnancy did not factor into the decision, and I never told anyone that pregnancy was the reason for
Carter’s layoff.

11. Knope was not a decisionmaker in the reduction in force process with regard to Carter
or any other employee. I did not request any input from him about Carter or her position,

12. Carter was not replaced. There is no Contracts Administrator position at Swiftships.

13, At no point in time did Carter ever request a raise, position change, or increase in pay
from me.

14. Swiftships has had employees who were pregnant and returned to work. Kelly Burnett
took maternity leave in 2010, and Aimee Hebert took maternity leave in 2012. Each were paid their

full salary for the entirety of their maternity leaves.

I certify under the penalty of perjury that the above and foregoing is true and correct based on

personal knowledge,

DECLARATION OF JEFF LELEUX PAGE -3 -
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 4 of 18 PagelID #: 100

Executed on this2Z 4 day of October, 2017.

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JEFF LELBOX

DECLARATION OF JEFF LELEUX PAGE - 4
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 5of18 PagelID#: 101

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

JORDAN CARTER * CIVIL ACTION NO: 6:16-CV-370
VERSUS * JUDGE §. MAURICE HICKS
SWIFTSHIPS, L.L.C, * MAGISTRATE JUDGE

CAROL B. WHITEHURST

 

DECLARATION OF DANNY KNOPE
UNDER 28 USC § 1746

 

Pursuant to 28 USC § 1746, I hereby declare as follows:

1, My name is Danny Knope. I am employed as the Purchasing Manager at
Swiftships, L.L.C.
2, In November 2014, Shehraze Shah, Chief Executive Officer, asked me to assume

oversight of the contracts function at the company. I was told that I was being asked to do so
because I had existing relationships with many government employees who are also involved in
the contracting process. No other reason was given. I agreed to do so, and I was told that Jordan
Carter would be reporting to me.

3. When I assumed oversight of the contracting process, | did not change any of
Carter’s duties, work schedule, benefits, or pay. I did not remove any responsibilities from
Carter. I did not assign any purchasing duties to Carter.

4, I collaborated on contracting issues with Carter from time to time, but very
infrequently. Throughout the time she and I worked together, my purchasing responsibilities
occupied approximately 90% of my time. There was not much in the way of contract work for

the company during this time period.
EXHIBIT

x

 

DECLARATION OF DANNY KNOPE PAGE - | -
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 6 of 18 PagelID #: 102

5. I was not involved in the decision to include Carter or anyone else in the
reductions in force which occurred in 2014 and early 2015. I was not consulted about Carter’s
employment. I provided no input into the decision to separate her. I have no knowledge as to
why Carter was selected for the reduction in force.

6. Carter was not replaced by another employee. After she was separated, | assumed
all of the contracting duties. I continued to handle both contracting and purchasing
responsibilities until July 2017. Throughout this time, my purchasing duties continued to occupy
the vast majority of my work time.

7. At no point in time did I ever represent to anyone that Carter was terminated
because she was pregnant.

] certify under the penalty of perjury that the above and foregoing is true and correct
based on personal knowledge.

Executed on this 25 day of October, 2017.

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DANNY K o

DECLARATION OF DANNY KNOPE PAGE-2-
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 7 of 18 PagelID #: 103

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF LOUISIANA

JORDAN CARTER * CIVIL ACTION NO: 6:16-CV-370
VERSUS # JUDGE $. MAURICE HICKS
SWIFTSHIPS, L.L.C. * MAGISTRATE JUDGE

CAROL B. WHITEHURST

 

DECLARATION OF SHEHRAZE SHAH
UNDER 28 USC § 1746

 

Pursuant to 28 USC § 1746, I hereby declare as follows:

1, My name is Shehraze Shah. J] am employed as the Chief Executive Officer of
Swiftships, L.L.C.

2. In 2014, there were economic developments that negatively impacted the
company, Swiftships had spent approximately one year and substantial resources preparmeg a bid
for vessel construction work for the Kingdom of Saudi Arabia’s Border Guards Fleet, which
would have been worth in excess of $1 billion dollars in gross revenue for the company. I and
other executives traveled to London, England in March 2014 to present the proposal to the
oversight commitiee for the project. In November 2014, we received notice that Swiftships was
not selected for the work. Additionally, oil prices fell drastically in 2014. In June 2014, oil
prices were north of $110.00 per barrel, and they began a steady, steep decline. In November
2014, OPEC refused to agree in curbs in production, and the price fell further. There was a more
than a 40% drop in prices from June to December 2014. This had a substantial impact on our
prospects for additional business.

3. In November 2014, I asked Danny Knope, Purchasing Manager. to assume

oversight of the contracting functions as the Contracts Manager. The reason ] asked Knope to do

EXHIBIT

DECLARATION OF SHEHRAZE SHAH ’ % PAGE-1-

 
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 8 of 18 PagelID#: 104

so was because Faisal Gill, General Counsel, was no longer going to act in the same direct role
for the company. I needed someone to oversee the day to day work performed in that
department. I instructed Knope to retain his purchasing and procurement responsibilities and to
work with Carter on the existing contracting issues.

4, At no point in time did 1 request or approve any promotion of Carter to the
Contracts Manager position, nor did I ever promise her any increase in pay during her
employment. Any and all promotions, job transfers, and pay increases must be authorized by
Jeff Leleux, President. At no point in time did I ask Leleux for any promotion, job title change,
or pay change for Carter.

5. i collaborated with Leleux on the individuals to be selected for the reduction in
force due to the negative economic circumstances which took place in 2614, which included the
steep drop in oil prices and the loss of work and the loss of the Saudi Arabia contract. Carter
was one of the individuals selected. While I was aware of her pregnancy, her pregnancy had no
bearing whatsoever on our decision. We determined that the position could be eliminated
because of the lack of work and foreseeable lack of work and the ability of Knope to assume all
contracting duties. | did not seek Knope’s input on Carter’s position, I never told Danny Knope
or anyone else that Carter was separated because she was pregnant.

6. Carter was not replaced after the reduction in force. Knope assumed all
contracting responsibilities while he retained his purchasing and procurement responsibilities.

7. At no poimt in time during her employment did Carter ever request a raise, title

change, or a promotion from me.

8. At no point in time did Carter’s pay or benefits change during her employment.

DECLARATION OF SHEHRAZE SHAH PAGE -2-
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 9 of18 PagelID#: 105

I certify under the penalty of perjury that the above and foregoing is true and correct
based on personal knowledge.

Executed on this Atay of October, 2017.

  

DECLARATION OF SHEHRAZE SHAH PAGE -3-
 

 

Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 10 of 18 PagelD #: 106

Rickie Bertrand

From: Jordan Washburn

Sent: Tuesday, June 24, 2014 7:54 AM
To: Rickié Bertrand

Subject: Absence today

Rickie,

I won't be at work today due to being sick. Please see the below emails for my approval to use a vacation day
for my absence today. Sorry for the late notice.

Thanks.

Ms. Jordan Washburn
Contracts Administrator [Swifitships.com
O: 985-380-827] |C: 985-255-2509 | F:985-329-2274

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This email and any attachments are confidential to the intended recipient and may also be privileged.
If you are not the intended recipient please delete it from your system and notify the sender,

You should not copy it or use it for any purpose nor disclose or distribute its contents to any other person.
FRE ERE SR RR a Be RR eR Rf Ek RGR eC CE Eee eee of a ok ae a aoe ae eae aco ake yo ae

Begin forwarded message:
From: Faisal Gill <feill@éswiliships.com>
Date: June 24, 2014 at 7:50:26 AM CDT

To: Jordan Washburn <iwash burns wiltships.com>
Subject: Re:

Sure no problem. J hope you feel better.

Sent from my iPhone

On Jun 24, 2014, at 8:48 AM, Jordan Washburn <jwashburn @swifiships.com> wrote:
Faisal,
i will be out of the office today. | am not feeling well. I apologize for the last

minute notice. Ihave my laptop in case you need me to handle anything. Can I
use a vacation day for my absence today?

, EXHIBIT

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Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 11o0f18 PagelD#: 107

Ms, Jordan Washburn
Contracts Administrator [Swifiships.com
O: 985-380-827] |C: 985-255-2509 | F:985-329-2274

 

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This email and any attachments are confidential to the intended recipient and may
also be privileged.

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the sender.
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contents to any other person.
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Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 12 of 18 PagelD #: 108

 

 

 

 

AMENDMENT OF SOLICITATION/MODIFICATION OF CONTRACT ONT™UTH CDE | race ;
2. AMEND MEN T/MODIFICA TION NO. 3. EFFECTIVE DATE 4. REQUISTTION/PURCHA SE REQ, NO. 5. PROJECT NO{IFapplicable}

 

A00072 48-Dec-2014 {SEE SCHEDULE

6. ISSUED BY CODE N69316 7. ADMINISTERED BY (fother than itenrS) CODE | N69316

SUPSHIP GULF COAST

 

 

 

 

 

SUPSHIP GULF COAST
ATTN: CODE 410 ATP OOo atg
PO BOX 7003 PASCAGOULA MS 39568-7003
PASCAGOULA MS 39598-7063
8. NAME AND ADDRESS OF CONTRACTOR (No., Street, County, State and Zip Cade) 9A, AMENDMENT OF SOLICITATION NO.

 

9B, DATED (SEE ITEM 11}

 

 

 

UGGS ESQ Race onDER NO
'][#<DATED GEE ITEM)

  
 
  

 

 

 

 

 

 

E =i__IEACIL EEN. CODE AV P86 - __|. % } 25-Sep-2009
: [Sn : U1 THISITEM ONLY APPLIESTO AMENDMENTSOF SOLICITATIONS
[lm above numbered solicitation is amended as set drth in item 14. Thehoue and date specified br reseipd of Ofer CY is extended, Lj is not extended,

Ofer must acknowledge receipt of this amendment priorto the hour ard date specified in the solisitalion ov as amended by oncofthe dliowing eethods:

{a) By completing Items 8 and 15, and tuning copics ofthe arendmont; (b) By acknowledgiag receipt ofthis amendment on each copy oftheofer submiited,
oro} By separate letter or telegram which includes areitrence to the solicitation and amendment numbers. FAILURE OF YOUR ACKNOWLEDGMENT TO BE
RECEIVED ATTHE PLACE DESIONA TED FOR THE REC#IPT OF GFERS PRIOR TO THE HOUR AND DATE SPECIFIED MAY RESULT IN

REJECTION OF YOUR OFFER. ify vidue ofthis amendment you desire to change an ofr already aebmitted, such change way be made by tel egvamior ledter,
provided each telegram or letter makes reference to the solicitation and this amendment, avd is received prior to the opening hour and date specified.

12. ACCOUNTING AND APPROPRIATION DATA CIF required)
Sea Schedule

t3. THISITEM APPLIES ONLY TO MODIFICATIONS OF CONT RACT SORDERS
iT MODUTES THE CONTRACT/ORDER NO, AS DESCRIBED LN ITEM 14.

 

A. THES CHANGE ORDER IS ISSUED PURSUANT TO: (Specify authority) THE CHANGES SET FORTH IN ITEM i4 ARH MADE IN TUE
CONT RACT ORDER NO, IN ITEM LOA.

 

x |B. THE ABOVE NUMBERED CONT RACT/ORDER IS MODIFIED TO REFLECT THE ADMINIST RATIVE CHANGES (such as changes in paying
office, appropriation date, etc.) SET FORTH IN ITEM 14, PURSOANT TO THE AUTHORIT ¥ OF FAR 43.103(8).

 

C. THIS SUPPLEMENTAL AGREEMENT IS ENTERED JNTO PURSUANT TO AUTHORITY OF:

 

ID. OTHER (Specify type of modification and authority)

 

 

E, IMPORTANT: Contractor | is not, is required to sign this ducument und return 4 copies to the issuing office,

14. DESCRIPTION OF AMENDMENT /MODIFICAT ION (Organized by UCE section headings, inchuting solicitution/oontract subject matter
where feasible}
Modification Control Number: aw elsheml52846

CHANGE OF COMPANY NAME (NOVATION)

Except as provided hereiis, all terms aed conditions ofthe docunnnt seRrenced in Hem $A or 104, as heretofore changed, cemains uachanged and in Bll force and effect.

 

135A, NAME AND TITLE OF SIGNER (T ype or print) 1A. NAME AND TITLE OF CONT RACT ING OFFICER (Type or print)

 

lerdan \nkeloucn Contract: s Manager" M. Welsh, Contracting Officer
FE!

pe CON) 15C. DATE SIGNED i6B. UNIT re Lf BRICA 16C, DATE SIGNED
12/18] 4 jay > Uses Dec. 19, 2014

   
  

 

 

 

 

 

STANDARD FORM 30 (Rev. 10-33)
Prescribed by GSA

EXHIBIT FAR (48 CPR) 53.243

Zi Gignature of Contracting Officer)
CEPTION TO SF 30 30-105-04
APPROVED BY OIRM 17-84

5

 
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17

SECTION SF 30 BLOCK 14 CONTINUATION PAGE

The following items are applicable to this modification:

Subject: NOVATION CHANGE AGREEMENT
(a) Agreement pursuant to FAR 42
See Exhibit A for applicable Contract Numbers and Modification Numbers

Ref:

Page 13 of 18 PagelD #: 109
N00024-09-C-2256
(awelshem 152846)

Page 2 of 2

i. WHEREAS, Swiftships, L.L.C. (Contractor), a company duly organized and existing under the laws of the
state of Virginia, with its principle office in Vienna, Virginia; and the UNITED STATES OF AMERICA
(hereinafter “the Government”) enter into this agreement as of January |, 2014 (reference (a); and

2. WHEREAS, on January 1, 2014, Swiftships Shipbuilders, L.L.C. and the Government signed a letter reflecting
the parties’ agreement regarding certain issues pertaining to the Novation Agreement, which transaction has
resulted in the establishment of Swiftships, L.L.C. asa new, independent, publicly owned company; and

3. WHEREAS, this letter stipul

of existing U.S. Navy shipbuilding contracts”; and

ated, among other things, that the Navy would “approve any necessary assignment

4. WHEREAS, in accordance with Reference (a), this modification accomplishes establishment of Swiftships,
L.L.C. as a new, independent, publicly-owned company and all rights and obligations of the Government and of
the contractor under the contracts are unaffected by this change and documentary evidence of this transaction
has been filed with the Government; and

5. NOW THEREFORE, in consideration of these facts, the parties mutually agree that the contracts covered by
the Agreement (reference (a)) are amended by substituting the name “SWIFTSHIPS, L.L.C.” for the name
“SWIFTSHIPS SHIPBUILDERS, L.L.C.” wherever it appears in the respective contracts, delivery orders or job
orders as cited on Exhibit A (see Page 3 of 3) to this modification, This instant modification displays the

modification number as assigned to individual contracts and basic agreements as cited on Exhibit A.

6. Except as provided herein, all terms and conditions of the documents identified in EXHIBIT A remain

unchanged and in full force and effect,

 

 

 

 

 

EXHIBIT A
Contract Program/Description Type Issuing PCO Paying Pay Contract
Number g P yP Ageney Offer DODAAC Mod
NOo024- Egyptian 28m Coastal John

09-C-22]9 Patro! Craft FFP | NAVSEA Kimener Cleveland N68732 A0G018
NOQ0024- : John

09-C-2256 Iraqi 35m Patrol Boats FFP | NAVSEA Kimener Cleveland N68732 A00071
N00024- Iraqi Continuous Tim

14-C-4217 Lifecycle Support FFP | NAVSEA Starker Cleveland N68732 POO0GS

 

 

 

 

 

 

 

 

 
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 14 of 18 PagelID #: 110

 

 

 

 

AMENDMENT OF SOLICITATION/MODIFICATION OF CONTRACT noses CODE me 1 ue
2. AMENDMEN T/MOBIFICA TION NO. J. BPFECHVE DATE 4. REQUISITION/PURCHASE REQ NC. 5, PROJECT NO (Fapplicable)

AQODIS 1G-Dec-2O14 —- |NOOazd0eNFeE3O83

 

 

 

6. 1SSUED BY CODE NS9316 7. ADMINISTERED BY (fother than item6) CODE |N69316

SUPSHIP GULF COAST

 

 

 

 

SUPSHIP- GULF COAST a
ATTN: GOODE 410 arncoDe 40
PO BOX 7003 PASCAGOULA MS 39588-7003
PASCAGOULA MS 39584-7003
8. NAMF AND ADDRESS OF CONTRACT OR (No., Street, County, Sate and Zip Code) 9A, AMENDMENT OF SCLICIT ATION NO.
SWETSHIFS SHIPPUILDERS, LLC.
LEVE .
MORGAN CRY 1A 70080-4001 9B. DATED (SEE ITEM 11)

 

FIRSOAER, BEET OCT Seon

 
         

 

 
  

TLOBEDATED” (SER ITEM 13)

 

 

 

 

 

 

 

CODE” fVPa¢: = IRACTLIT ¥ CODE = os X | ¢8-Nov-2008
= fe }1. THIS ITEM ONLY APPLIESTO AMENDMENT 5 OF SOLICITATIONS
ithe above numbered solicitation is amended as set forth in Hem t4. Thehour and dare specified or receipt of Ofer Cj is extended, t ] is nat extended,

Offer must acknowledge receipt ofthis amendment prior to the hourand date specified in the solicitation or a3 aneaded by onc atthe Sllowing inethods:

(a} By completing Items 8 and 15, and returning copies ofthe amendment; (b) By acknowledging seceipl ofthis amendinent on each copy oftheo diy submitted;
or (c} By sepacate [steer or telegram which incladas a reference to the solicitation and amendment numbers. FAILURE OF YOUR ACKNOWLEDGMENT 70 BE
RECEIVED ATTHE PLACE DESIGNATED FOR THE RECEIPT OF OFFERS PRIOR TO THE HOUR AND DATE SPECIFIED MAY RESULTIN

REJECTION CF YOUR OFFER. ifby virtue ofthis amendment you desire to change an offer already submitted, auch change my be made by telegram or letter,

provided each telegramor leHer matces reference to the solicitation and this amendment, and is received priv to the opening hourand datz specified.

2, ACCOUNTING AND APPROPRIATION DAT A (If required)

 

 

13. THISITEM APPLIES ONLY TO MODIFICATIONS OF CONT RACTSORDERS,
ly MODIFIES THE CONT RACT/ORDER NO. AS DESCRIBED IN ITEM 14,

 

A. THIS CHANGE ORDER ISISSUED PURSUANT To: (Specify authority) THE CHANGES SET FORTH IN ITEM {4 ARE MADE IN THE
CONTRACT ORDER NO, IN ITEM 104,

 

Xj8. THE ABOVE NUMBERED CONTRACT /ORDER IS MODITIED TO REFLECT THE ADMINISTRATIVE CHANGES (such as changes in paying
office, appropriation date, etc.) SET FORTH IN ITEM 14, PURSUANT TO THE AUTHORITY OF FAR 43, 103(3).

 

C, THIS SUPPLEMENT AL AGREEMENT IS SNT ERED INTO PURSUANT TO AUTHORITY OF:

 

D. OTHER (Specify type of modification and authority)

 

 

E. (IMPORTANT: Contractor i] is not, Ig required to sign this document and return 4 copies to the issuing office,

14. DESCRIPTION OF AMENDMENT /MODIBICATION (Organized by UCF section headings, including solicitation/oontract subject matter
where feasible.)
Modification Control Number: aw elshermi51879

CHANGE OF COMPANY NAME (NOVATION)

Exceptas provided herein, all terms aad conditions ofthe document referenced in Item PA or 104, a5 heretoiore changed, remains gnéhenged and in fi]! Broe and effect.

 

ISA, NAME AND TITLE GF SIGNER (Type or print) 16A. NAME AND TITLE OF CONTRACTING OFFICER (Type or print)

Jo cd an WW ask - Condy neds Manado fe" M. Welsh, Contracting Officer

 

 

 

-——_ 15C, DATE SIGNEDY [i6a, foe. Lh Ik MERICA ' 1160. DATE SIGNED
Ls AEE 418] i2| ayl UTES MA. CeAl— Dec. 19, 2014

£7" Sienazure of person authorized ta sign} {Signature of Contracting Officer)

 

 

 

EXCEPTION TO SF 30 30-165-D4
APPROVED BY OJRM 11-84

STANDARD FORM 30 (Rev. 10-83)
Presaribed by GSA

EXHIBIT FAR (48 CFR) 53.243

(,

 

 
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17

SECTION SF 30 BLOCK 14 CONTINUATION PAGE

The following items are applicable to this modification:

Subject!) NOVATION CHANGE AGREEMENT

Ref:

(a) Agreement pursuant to FAR 42

See Exhibit A for applicable Contract Numbers and Modification Numbers

Page 15 of 18 PagelD #: 111

N00024-09-C-2210
(awelshom 151879)

Page 2? of 2

1. WHEREAS, Swifitships, L.L.C. (Contractor), a company duly organized and existing under the laws of the
state of Virginia, with its principle office in Vienna, Virginia; and the UNITED STATES OF AMERICA
(hereinafter “the Government”) enter into this agreement as of January 1, 2014 (reference (a)); and

2. WHEREAS, on January 1, 2014, Swiftships Shipbuilders, L.L.C. and the Government signed a letter reflecting
the parties’ agreement regarding certain issues pertaining to the Novation Agreement, which transaction has
resulted in the establishment of Swiftships, L.L.C. asa new, independent, publicly owned company; and

3. WHEREAS, this letter stipulated, among other things, that the Navy would “approve any necessary assignment
of existing U.S. Navy shipbuilding contracts”; and

4. WHEREAS, in accordance with Reference (a), this modification accomplishes establishment of Swiftships,
L.L.C. as a new, independent, publicly-owned company and ali rights and obligations of the Government and of
the contractor under the contracts are unaffected by this change and documentary evidence of this transaction
has been filed with the Government; and

5. NOW THEREFORE, in consideration of these facts, the parties mutuaily agree that the contracts covered by
the Agreement (reference (a}) are amended by substituting the name “SWIFTSHIPS, L.L.C.” for the name
“SWIFTSHIPS SHIPBUILDERS, L.L.C.” wherever it appears in the respective contracts, delivery orders or job
orders as cited on Exhibit A (see Page 3 of 3) to this modification. This instant modification displays the
modification number as assigned to individual contracts and basic agreements as cited on Exhibit A.

6. Except as provided herein, all terms and conditions of the documents identified in EXHIBIT A remain

unchanged and in full force and effect.

 

 

 

 

EXHIBIT A
Contract Program/Desecription Type Issuing PCO | DFAS Paying Pay Contract
Number Agency Office DODAAC} Mod
N00024-09- Egyptian 28m Coastal FFP | NAVSEA John Cleveland N68732 | AGOOI8
C-2212 Patro! Craft Kimener
NO00024-09- | Iraqi 35m Patrol Boats FFP | NAVSEA John Cleveland N68732 | A00071
C-2256 Kimener
N00024-14- | lragi Continuous Lifecycle FFP [| NAVSEA Tim Cleveiand N68732 | POOOGS
C-4217 Support Starker

 

 

 

 

 

 

 

 

 

 
Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 16 of 18 PagelD#: 112

 

 

 

 

 

 

 

 

1 CONTRACT ID CODE PAGROF PAGES
AMENDMENT OF SOLICITATION/MODIFICATION OF CONTRACT J ‘ | 5
2. AMENDMEN'T/MODIFICATION NO S.EFFECTIVE OATE — bé. REQUISITION/PURCHASE REO. NO. 5. PROJECT NO.Ifappticabler
AS00001 19-Dec-2044 SEE SCHEDULE
6. ISSUED BY CODE N69316 T. ADMINISTERED BY (other thas item 6} CODE | Ne9316
SUPSHIP GULF COAST

SUPSHIP GULF COAST CODE 446

ATTA: CODE 430 5100 RIVER ROAD

PO BOX 7003 UAMTCOE, aNO FLOOR

PASCAGOLILA MS 39568-7003 AVONDALE LA 700294

 

 

8. NAME AND ADDRESS OF CONTRACTOR (No.. Street, County, Slate and Zip Code} 9A, AMENDMENT QF SOLICITATION NO.

SWIFT SHIPS SHIPBUILOERS, LLC.
MORGAN CITY LA 70%e0-1001 - 9B. DATED (SEE (TEM 17)

 

 

10A. MOD. OF CONT RACT/ORDE
X | Nogo2d-14-C.43 17 RDER NO

10B. DATED (SEE fFEM 13)
X | 22-Sep-2014

 

 

 

 

 

 

CODE 60551 IFACILITY CODE
11. THISHTEM ONLY APPLIES TO AMENDMENT 5 OF SOLICITATIONS
| }ihe above numbered solicitation is amended as set forth ia Hem 14. The hour and date speciied for receipt of Ofer [] is extended, [| is avt extended,

Oller musi acknowledge receipt ofthis amendment prior to the hour and date spccified in the solicitation or as amended By one of the STiowing aethods:

ia} By conpicting Ireme 8 aud 15, and returning copies ofthe amendment: (b} By ackrowledyiny receipl ofthis amendment on each copy efihe offer submitted:
or{c) By separate fetter or telegeara which includes a reference to the solicitation and amendment numbers. FASLURE OF YOUR ACKNOWLEDGMENT 10 8£
RECEIVED AT THE PLACE DESIGNATED FOR THE RECEIPTOF GFFERS PRIOR TO THE HOUR AND DATE SPECIFIED MAY RESULT IN

REJECTION OF YOUR OFFER. by virtue ofthis amendment you desize to change an offer already subattted, such change may be mide by (elegtamor letter.
provided each Lelegramor letter makes reftrence to the saticitation and this amendment, and is received priar to the opening houc aad date specified.

12. ACCOUNTING AND APPROPRIATION DATA dif required}

13. THISTEEM APPLIES ONLY TO MODIFICAT IONS OF CONT RACT YORDERS.
fT MODIFIES THE CONT RACT/ORDER NO. AS DESCRIBED IN ITEM L4.
A, THIS CHANGE ORDER 1$ ISSUED PURSUANT TO: (Specify authority) THE CHANGES SET FORTH IN ITEM 14 ARE MADE !N THE
CONTRACT ORDER NO. IN ITEM I0A, ,

 

 

x iB. THE ASOVE NUMBERED CONT RACT/ORDER IS MODIFIED TO REFLECT THE ADMINISTRAT IVE CHANGES (such as changes in paying
office, appropriation date, etc.) SET FORTH IN ITEM 14, PURSUANT TO THE AUTHORIT Y OF FAR 43.103(8}.

C. THISSUPPLEMENTAL AGREEMENT IS ENTERED {NTO PURSUANT TO AUTHORITY OF:

 

 

D. OTHER (Specify type of modification and authority}

 

 

E. IMPORTANT: Contractor [I is not, is required to sign this document and return 4 copies io the issuing office.

14, DESCRIPTION OF AMENDMENT /MODIFICAT [ON (Organized by UCF section headings, including solicitation/contravt subject matter
where feasible. }
Modification Control Number, aw elgherni 52856

CHANGE OF COMPANY NAME (NOVATION}

Except as provided hersin, all tents and conditions orthe document referenced in tema or QA, as hereto Ore changed, remains unchanged and ia fill Gree and cPtet.

 

 

ISA. NAME AND TITLE OF SIGNER (Type or print} 164. NAME AND TITLE OF CONT RACT ING OFFICER (Vype or print)
a 3 ; Curtis M. Weish, Contracting Officer
J ordan Washburn - Contr acts Manager TEL: EMAL:

OFF

   
 

  

 

15C. DATE SIGNED 168. ITED zh M4 ERICA , [6C. DATE SIGNED
Ls lay SAL. Dec. 19, 2014
IZ/1B/14 Crest Mewes

(Signature of Contracting Officer)

 

 

 

(Signature of person authorized ta sign}

 

 

EXCEPTION TO SF 30 30-193-04 ST ANDARD FORM 30 (Rev. 10-83)
APPROVED BY OIRM 11-84 Prescribed by GSA
EXHIBIT FAR (48 CFR) $3,243

tabblest

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. Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 17 of 18 PagelD#: 113

11, 2014 e-mail from Aimee Griffin to Shehraze Shah, Faisal Gill, Jeff LeLeux, Danny
Knope and Jordan Washburn regarding Contract Changes: December 31, 2014 e-mail
from Maia Basas; and February 19, 2014 expense reimbursement documentation for
travel to Swiftships Virginia office for training after promotion.

INTERROGATORY NO. 6

Identify all admissions or declarations against interest made by SWIFTSHIPS
concerning the subject matter of this action.
ANSWER TO INTERROGATORY NO. 6

On November 24, 2014, the Plaintiff and Danny Knope, who replaced the
Plaintiff as Contracts Administrator, met in Knope's office. When the Plaintiff asked
Knope why she had been demoted when she had done everything she could as manager
and had never received any kind of notice as to any concerns about her performance,
Knope told her Shehraze Shah met with Knope a few weeks before to discuss the position
switch. Knope said that because the Plaintiff would have to take maternity leave, Shah
was going to make Knope manager and put the Plaintiff under Knope.

After the Plaintiff's termination, Knope ran into the Plaintiff's mother, Tamera
Thomas and ‘Stepfather Michael Thomas, and commented that be ‘was sorry that the
Plaintiff was terminated. He said that the company terminated the Plaintiff because she
was pregnant.

In addition, the Plaintiff was called into a meeting supposedly about contracts at
which Aimee Griffin and Khurram Shah were present. At the meeting, Khurram Shah
asked Ms. Carter about a call she had received from Lidieth Mojica, a 1 former cmployec

“whosued the. company: “for sexual bara: assment in > Virg einia. “Nis. Carter responded to ‘the -

 
_ Case 6:16-cv-00370-PJH Document 23-5 Filed 10/27/17 Page 18 of 18 PagelID#: 114

question professionally and stated she told Ms. Mojica that she herself had not been
sexually harassed. Then Khurram Shah implied that Ms. Mojica was a "whore" who
deliberately slept with men at work and then sued companies for sexual harassment.
INTERROGATORY NO, 7
Identify all other lawsuits to which you have ever been a party, and the other
parties to those suits, and the reason(s) for the suits, the jurisdiction within which the
suits were filed and, if settled or otherwise resolved, the terms of the settlement or
judgment.
ANSWER TO INTERROGATORY NO. 7
The only other lawsuit to which the Plaintiff has been a part is Jordan Carter vy,
Cameron Carter in the 16th Judicial District Court, Case No. 129641. No judgment of
divorce has been signed at this time.
INTERROGATORY NO. 8
With respect to the damages you seek in your Complaint:
a. describe in detail the types and amounts (where quantifiable} of all
damages you are seeking;
b. describe in detail the manner in which you caiculated the damages in
response to Interrogatory 8a;
Cc, identify all persons who have information or knowledge with respect to
the answers in this Interrogatory; and
d. identify all documents that refer or relate to, or upon which you rely with

regard to, the damages you are seeking.

 
